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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     INTERNATIONAL SWIMMING                              Case No. 18-cv-07394-JSC
                                         LEAGUE, LTD,
                                   8                    Plaintiff,                           ORDER RE: DISCOVERY DISPUTES
                                   9             v.                                          Re: Dkt. Nos. 180, 181-4
                                  10
                                         FÉDÉRATION INTERNATIONALE DE
                                  11     NATATION,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                         THOMAS A. SHIELDS, et al.,
                                  13
                                                        Plaintiffs,
                                  14
                                                 v.
                                  15
                                         FÉDÉRATION INTERNATIONALE DE
                                  16     NATATION,
                                  17                    Defendant.
                                  18      Now pending before the Court are two discovery dispute joint letter briefs. (Dkt. Nos. 180,
                                  19   181-4.) After carefully considering the letters and attached exhibits, the Court concludes that oral
                                  20   argument is not necessary, see N.D. Cal. Civ. L.R. 7-1(b), and rules as set forth below.
                                  21      A. Dkt. No. 180. Plaintiffs’ request for FINA’s Short Course Worlds financial documents
                                  22   from 2018 to the present is denied. There is no material difference between the Short Course
                                  23   Worlds event series and the World Championships. The Court’s previous ruling turned on the
                                  24   longstanding nature of the World Championships and that swimmers are competing on behalf of
                                  25   their country federation rather than individual teams. Both factors apply equally to the Short
                                  26   Course Worlds event series. Plaintiffs’ request is also overbroad given that it seeks “all
                                  27   documents and communications.” In any event, even if the burden of production was slight, given
                                  28   the acrimonious relationship between FINA and ISL, the Court is sensitive to requiring production
                                          Case 3:18-cv-07393-JSC Document 125 Filed 10/20/20 Page 2 of 2




                                   1   of confidential information with, at best, only slight potential relevance.

                                   2      B. Dkt. No. 181-4. Plaintiffs’ motion to compel FINA to produce a Rule 30(b)(6) deponent

                                   3   on Topic No. 30 is granted. FINA’s knowledge of concerns or criticisms of Mr. Marculescu’s ISL

                                   4   strategy is relevant to FINA’s intent. FINA’s objection that Plaintiffs seek binding corporate

                                   5   testimony about unspecified persons’ individual opinions and perceptions about Mr. Marculescu is

                                   6   not well taken. Plaintiffs do not seek uncommunicated opinions or perceptions; rather, the topic

                                   7   seeks FINA’s knowledge of concerns or criticisms. Plaintiffs also do not seek to attribute the

                                   8   subjective personal opinions of individual people to FINA. The question does not ask FINA to

                                   9   inquire as to how a group of individuals viewed its Executive Director—the question asks for

                                  10   communications. Thus, if a volunteer member of FINA’s Bureau held uncommunicated

                                  11   reservations about FINA’s approach to ISL, such reservations are not covered by this topic which

                                  12   asks for “communications.”
Northern District of California
 United States District Court




                                  13      Plaintiffs’ motion to compel testimony on Topic No. 30 is granted as to the limited time frame

                                  14   requested. The request seeks relevant information and FINA’s burden objection is not persuasive.

                                  15   If the appropriate answer under oath is already covered by other topics, then there is no additional

                                  16   burden. If there are additional proposed commercial competitions that FINA and IOC discussed

                                  17   then those discussions are relevant to Plaintiffs’ claims. The alleged common legal representation

                                  18   is irrelevant to the Court’s decision.

                                  19      Plaintiffs’ motion to compel 30(b)(6) testimony regarding Mr. Neuburger is denied. The

                                  20   questions are not appropriate for a 30(b)(6) deposition.

                                  21      This Order disposes of Docket Nos. 180 and 181-4.

                                  22          IT IS SO ORDERED.

                                  23   Dated: October 20, 2020

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  26                                                                 United States Magistrate Judge
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